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                                                August 17, 2021

The Honorable Susan Illston
United States District Court, Northern District – San Francisco
450 Golden Gate Ave., 17th Floor, Courtroom 1
San Francisco, CA 94102

       Re:     Pauly v. Stanford Health Care
               Case No.: 18-cv-05387-SI

Dear Judge Illston:

Plaintiff is requesting the Court’s assistance in resolving a discovery matter in dispute regarding Defendant’s
subpoenas for Plaintiff’s privileged medical records as follows:

“Deposition Subpoenas for Production of Business Records”:

SUBPOENA #1 “ALL DOCUMENTS, MEDICAL RECORDS, OFFICE RECORDS, EMERGENCY ROOM
RECORDS, SIGN-IN SHEETS, MEDICAL TESTS, INPATIENT AND OUTPATIENT CHARTS AND
RECORDS, RADIOLOGICAL REPORTS AND TEST RESULTS. ALL OF THE ABOVE PERTAINING TO
THE CARE, TREATMENT OR EXAMINATION OF MAKENZIE PAULY (DOB: 09/25/1998).”

SUBPOENA #2 “x-RAYS, MRI’S and CT Scans: Any and all x-ray films, MRI’s, CT scans and any other type
of film pertaining to the care, treatment or examination pertaining to MAKENZIE PAULY (DOB: 09/25/1998)
from the first date to, and including, the present.”

SUBPOENA #3 “BILLING RECORDS All itemized statements of billing charges, invoices, records of
adjustments and/or write-offs, payments and credits, explanation of benefits, balances due and insurance
records. All of the aforementioned pertaining to the care, treatment or examination of MAKENZIE PAULY
(DOB: 09/25/1998) from the first date to, and including, the present.”

Defendant never made a discovery request for the information they are seeking in SUBPOENA #1 and #2, but
did request the information they are seeking in SUBPOENA #3 in their Request for Production of Documents
and Things, Set One (RFP), No. 2, on June 9, 2021, that stated, “DOCUMENTS evidencing any claimed special
damages, including, but not limited to, medical and hospital charges, medical devices, loss of earnings or
earning capacity, drugs or medications, and records of payment of the above items, as a result of the alleged
violation(s) of EMTALA by Defendant, STANFORD HEALTH CARE. ”. On July 9, 2021, Plaintiff objected to
RFP, No. 2, stating, “Plaintiff objects to request #2 on the basis that it is irrelevant because Plaintiff has not
claimed any special damages.” Defendant’s counsel did not follow this Court’s Standing Orders to meet and
confer, instead, they subpoenaed Plaintiff’s records (SUBPOENA #3), specifically “medical and hospital
charges”.

In accordance with the Standing Orders of this Court; Plaintiff, Makenzie Pauly initiated a meet and confer with
opposing counsel regarding the discovery dispute of these subpoenas by emailing them a letter on August 17,
2021, describing Plaintiff’s position. After a good faith effort to come to a resolution failed, Plaintiff and
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opposing counsel chose to seek the Courts assistance. Due to the short timeframe before the Further Case
Management Conference on August 20, 2021, Plaintiff chose to file this statement separately.


ISSUES:


Federal Rules of Civil Procedure 26(b)(1) limits a party’s discovery to non-privileged, relevant information that
is related to their defense. Federal Rules of Evidence §994 protects a patient’s physician-patients privilege.
California Evidence Code §996 states that a patient’s privilege is waived narrowly to information
related/relevant to the claims tendered by the patient.

Since Plaintiff has not put her entire medical history at issue in her claims, but narrowly specified her claims to
the time of the EMTALA related events, her entire medical history, pre-dating and post-dating the incident,
remains privileged.

The following courts have held to the narrow approach to waiver: Tylo v Superior Court 55 Cal.APP4th 1379;
Britt v. Superior Court 20 Cal 3d 844, 864, 849 and EEOC v Peters’ Bakery Case No. 13-cv-04507-BLF (ORD.
GRANTING MOT. FOR RELIEF, Dkt 47, p. 7:10-16).

The Constitutional right to privacy is strongly defended by the courts (see Davis v. Superior Court (1992) 7
Cal.App.4th 1008, 1013), and is maintained despite filing a lawsuit (see In re Lifschutz (1970)2 Cal.3d 415,
435)). “The party seeking the constitutionally protected information has the burden of establishing that the
information sought is directly relevant to the claims.” Tylo v Superior Court 55 Cal.APP4th 1379 [Citation
omitted]. Accordingly, if the Defendant wishes to obtain Plaintiff’s constitutionally protected medical
information, they have the responsibility of showing how it is directly related to their defense.

Since EMTALA is a strict liability statute (see Jackson v. East Bay Hosp. 980 F (N.D.Cal.1997)).
Supp. 1348 and Bryant v. Adventist Health Systems/West 289 F.3d 1162, 1165 (9th Cir. 2002), which
is different from Medical Malpractice (see Moses v. Watsonville Hospital 5:15-cv-00932-BLF Dkt. 69,
P.3:20-21), quality of care is not at issue (see id at, p. 2:23-24). Unrelated medical records are of no value in
determining whether SHC violated EMTALA requirements on December 10, 2008. The only relevant medical
records are those that pertain to the timeframe of the events at issue in this case.

Defendant has been in possession of the records that pertain to the ED visits at SHC and Plaintiff has supplied
Defendant with the relevant Sutter Hospital records in her initial disclosures on July 9, 2021. Therefore,
Defendant is in possession of all relevant medical records pertaining to Plaintiff’s claims.

Defendant’s SUBPOENA #3 is seeking privileged third-party information belonging to Plaintiff’s parents and
Plaintiff never claimed special damages, therefore, Plaintiff’s billing information, medical receipts and
insurance information records are irrelevant to any possible defense in this case.

Enclosed, please find Defendant’s discovery requests (RFP No. 2 and (3) Subpoenas) and Plaintiff’s discovery
responses (Response to Defendant’s RFP No.2 and Meet and Confer Letter 08/16/21).

Plaintiff respectfully requests the Court’s assistance in this discovery dispute in order to protect Plaintiff’s
privileged medical records from discovery.


MAKENZIE PAULY
Plaintiff, Pro Se
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                                   Meet and Confer Letter
                                             August 16, 2021
1840 41st Ave. Ste. 102-386
Capitola, CA 95010
(831) 212-4118
paulytwo.0@gmail.com


        Carolyn Northrop
        400 University Ave.
        Sacramento, CA 95825-6502

        Re: Pauly v. Stanford Health Care 18-cv-05387-SI

        Dear Carolyn,

        I have received your (3) Deposition Subpoenas for Production of Business Records sent on July
30, 2021, requesting the documents be provided by August 30, 2021. I am writing to meet and confer
about these notices. This letter shall serve as my initial attempt to meet and confer as required by Judge
Illston’s Standing Orders regarding discovery disputes.

       Below, I have included my objections to the subpoenas and supporting citations and hope that we
can reach an amicable resolution in this discovery dispute, without the need for Court intervention.


        My first objection is that your request is overly broad, irrelevant and seeks privileged
information. You have improperly subpoenaed my records according to Federal and State law. Federal
Rules of Civil Procedure 26(b)(1) limits a party’s discovery to matters relating to their defense, not to
the subject matter of the other party’s medical history generally. “Parties may obtain discovery
regarding any nonprivileged matter that is relevant to any party's claim or defense and proportional to
the needs of the case, …” FRCP 26 (b)(1). Similarly, the Federal Rules of Evidence protect patients’
privileged information from being disclosed, “[T]he patient, whether or not a party, has a privilege to
refuse to disclose, and to prevent another from disclosing, a confidential communication between patient
and physician if the privilege is claimed by: (a) The holder of the privilege;” Federal Rules of Evidence
§994. California Evidence Code §996 describes when a patient’s privilege is waived, “There is no
privilege under this article as to a communication relevant to an issue concerning the condition of the
patient if such issue has been tendered by: (a) The patient.”
       However, the Constitutional right to privacy is strongly defended by the courts (see Davis v.
Superior Court (1992) 7 Cal.App.4th 1008, 1013), and is maintained despite filing a lawsuit (see In re
Lifschutz (1970)2 Cal.3d 415, 435)).
       The waiver of privilege is limited only to my claims. (see Tylo v Superior Court 55 Cal.APP4th
1379; Britt v. Superior Court 20 Cal 3d 844, 849; Britt v. Superior Court 20 Cal 3d 844, 864 and EEOC
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v Peters’ Bakery Case No. 13-cv-04507-BLF (ORDER GRANTING MOTION FOR RELIEF FROM
NONDISPOSITIVE PRETRIAL ORDER OF MAGISTRATE JUDGE, Dkt 47, p. 7:10-16))
         Since I have not put my entire medical history at issue in my claims, but narrowly specified my
claims to the time of the EMTALA related events, my entire medical history, pre-dating and post-dating
the incident, remains privileged. You are prohibited by law from subpoenaing privileged, non-
discoverable information.
        If you choose to pursue this course of discovery, you must show how this information is directly
related to your defense, “The party seeking the constitutionally protected information has the burden of
establishing that the information sought is directly relevant to the claims.” [Citation omitted] (Tylo v
Superior Court 55 Cal.APP4th 1379).
        If you would like to obtain my constitutionally protected medical information, you must explain
how it is relevant to your defense of my EMTALA claims, please.
         Since EMTALA is a strict liability statute (see Jackson v. East Bay Hosp. (N.D.Cal.1997) 980 F.
Supp. 1348 and Bryant v. Adventist Health Systems/West) 289 F.3d 1162, 1165 (9th Cir. 2002)), which
is different from Medical Malpractice (see Moses v. Watsonville Hospital 5:15-cv-00932-BLF Dkt. 69,
P.3:20-21), quality of care is not at issue (see Moses v. Watsonville Hospital 5:15-cv-00932-BLF Dkt.
69, p. 2:23-24). Unrelated medical records are of no value in determining whether SHC violated
EMTALA requirements on December 10, 2008. The only relevant medical records are those that pertain
to the timeframe of the events at issue in this case. You are in possession of the records that pertain to
ED visits at SHC and I have supplied you with the relevant Sutter Hospital records in my initial
disclosures on July 9, 2021.
        Secondly, I object to the third subpoena that seeks “Billing Records” on the basis that it violates
Judge Illston’s Standing Orders regarding discovery disputes. On June 9, 2021, you sent your Request
for Production of Documents, Set One, No. 2, which stated, “DOCUMENTS evidencing any claimed
special damages, including, but not limited to, medical and hospital charges, medical devices, loss of
earnings or earning capacity, drugs or medications, and records of payment of the above items, as a
result of the alleged violation(s) of EMTALA by Defendant, STANFORD HEALTH CARE.”
       On July 9, 2021, I responded by objecting to the request by stating, “Plaintiff objects to request
#2 on the basis that it is irrelevant because Plaintiff has not claimed any special damages.”
       When I objected to your discovery request, it became a discovery dispute. Judge Illston’s
Standing Orders clearly describe how to handle discovery disputes:
         “[1] The parties shall meet and confer in person, or…. by telephone, to attempt to resolve their
dispute informally... [2] If, after a good faith effort, the parties have not resolved their dispute, they shall
prepare a concise joint statement of 5 pages or less, stating the nature and status of their dispute… If a
joint statement is not possible, each side may submit a brief individual statement of 2 pages or less. [3]
The… statements shall be filed... The Court will advise the parties regarding the need, if any, for more
formal briefing or a hearing…”
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       You violated the discovery dispute orders by foregoing the meet and confer process, and the
Court’s review and instead served the subpoenas for medical billing ‘charges’ without the Court’s
permission.
        Additionally, you are seeking privileged third-party financial records that belong to my parents,
who are wholly complete and separate legal entities and are not parties in this case. Therefore, their
financial records are not relevant to any possible defense.
       I respectfully ask that you please withdraw your (3) subpoenas because they are illegal, against
the Courts discovery disputes orders, overly broad, irrelevant and seek privileged information.
        Please let me know if you would like to discuss this discovery issue further and we can schedule
a time to talk.


       Best Regards,


       Makenzie Pauly
